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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA


 JOHN CECIL,
 on behalf of himself and all others similarly
 situated,

                               Plaintiff,            Civil Action No. 16-CV-00410-KEW

 vs.

 BP AMERICA PRODUCTION COMPANY
 (f/k/a Amoco Production Company) (including
 BP Amoco Corporation, ARCO, BP Exploration,
 Inc., BP Corporation North America, Inc., and
 BP Energy Company),

                               Defendant.


                                            ORDER

        Plaintiff’s Motion to Authorize Distribution of Settlement Funds to Pay Settlement

Litigation and Administration Expenses [Doc. No. 279] is GRANTED. Accordingly, the court

authorizes the distribution of funds from the Escrow Account to the Lanier Law Firm, P.C. in

the amount of $32,512.64; to Rex A. Sharp, P.A. in the amount of $22,573.20; and to Daniel T.

Reineke in the amount of $45,587.50.



        IT IS SO ORDERED.

        Dated this 22nd day of January, 2019.



                                                __________________________________
                                                Kimberly E. West
                                                UNITED STATES MAGISTRATE JUDGE




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